        Case 1:17-cv-00845-KK-SCY Document 34 Filed 04/19/18 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO

JUANITA LOPEZ,

                Plaintiff,

v.                                                             Case No. 1:17-cv-00845-KK-SCY

STATE FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY and YET-TO-BE-IDENTIFIED EMPLOYEES
AND/OR AGENTS of State Farm Mutual Automobile Insurance
Company,

                Defendants.


                             ORDER OF DISMISSAL WITH PREJUDICE

        THIS MATTER having come before the Court upon the Motion of the Plaintiff, Juanita

Lopez, all parties having concurred and the Court being fully advised in the premises,

        FINDS that the Court has jurisdiction over the parties and the subject matter herein,

        FINDS that the Motion is well taken and should be granted.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Complaint of the

Plaintiff herein and all claims which could have been asserted therein are dismissed with prejudice,

with all parties to bear their own costs and attorney fees.




                                                _________________________________________
                                                THE HONORABLE KIRTAN KHALSA
                                                U.S. MAGISTRATE JUDGE
          Case 1:17-cv-00845-KK-SCY Document 34 Filed 04/19/18 Page 2 of 2



SUBMITTED BY:



/s/ Merit Bennett - approved via email 4/19/18
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APPROVED BY:

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